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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

ROY L. ELLIS,

                       Petitioner,                                  8:23CV315

        vs.
                                                     ORDER REFERRING MATTER TO
ROB JEFFREYS, Director, Nebraska                   UNITED STATES MAGISTRATE JUDGE
Department of Correctional Services,               FOR PREPARATION OF FINDINGS AND
                                                        RECOMMENDATIONS FOR
                       Respondent.                           DISPOSITION


       The parties have now completed briefing on Petitioner’s Petition under 28 U.S.C. § 2254

for A Writ of Habeas Corpus. Filing 1. The Court deems it appropriate to refer this matter to a

United States Magistrate Judge for preparation of Findings and Recommendations for disposition

of the Petition. Accordingly,

       IT IS ORDERED that this matter is referred to United States Magistrate Judge Ryan C.

Carson under 28 U.S.C. § 636(b)(1)(B) to conduct any hearings, including evidentiary hearings,

and to submit to the undersigned proposed findings of fact and recommendations for the

disposition by the undersigned of Petitioner’s Petition under 28 U.S.C. § 2254 for A Writ of

Habeas Corpus, Filing 1.


       Dated this 10th day of April, 2025.


                                                   BY THE COURT:


                                                   _________________________
                                                   Brian C. Buescher
                                                   United States District Judge
